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 7                               UNITED STATES DISTRICT COURT

 8                                      DISTRICT OF NEVADA

 9                                                  )
     UNITED STATES OF AMERICA,                      ) CASE NO: 02:08-CR-00163-JCM-RJJ
10                                                  )
                    Plaintiff,                      )
11                                                  )       MOTION TO CONTINUE
            vs.
                                                    ) SENTENCING DATE FOR A PERIOD
12                                                  )             OF 60 DAYS
     ALFREDO FLORES,
                                                    )          AND ORDER
13                  Defendant.                      )
                                                    )
14                                                  )
15
            The Defendant, ALFREDO FLORES, by and through his counsel, James A. Oronoz,
16
     respectfully moves this Court for an Order continuing the sentencing date for a period of 60
17
     days. The current sentencing date is scheduled for October 6, 2010.
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19          This Motion is made and based upon the attached Memorandum of Points and

20   Authorities, the papers and pleading on filed in this case, and any argument that may be heard
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     upon this motion.
22
                                        POINTS AND AUTHORITIES
23
                           INTRODUCTION AND FACTUAL BACKGROUND
24
            The Defendant, Alfredo Flores, was charged with three felony counts related to his
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26   alleged involvement in a conspiracy to commit robbery. The Criminal Indictment charged

27   Alfredo Flores with the following: Count One, Conspiracy to Interfere with Commerce by
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     Robbery; Count Two, Conspiracy to Possess Cocaine with Intent to Distribute; and Count

                                                     1
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 1   Three, Possession of a Firearm in Furtherance of a Drug Trafficking Crime. Following a ten-day
 2   jury trial, which began March 22, 2010, Alfredo Flores was convicted of all three counts
 3
     contained in the Criminal Indictment. Sentencing is currently scheduled for October 6th, 2010
 4

 5          I.      THIS COURT SHOULD GRANT A CONTINUANCE FOR GOOD
 6
     CAUSE DUE TO THE UNDERSIGNED’S SCHEDULING CONFLICT
 7
            The decision to grant a continuance lies within the discretion of the trial court. US v.
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 9
     Flynt, 756 F.2d 1352, 1358 (9th Cir. 1985). However, a district court’s denial of such a motion

10   must not be arbitrary or unreasonable. US v. Rivera-Guerrero, 426 F.3d 1130, 1138 (9th Cir.
11   2005). There are no mechanical tests for deciding whether a continuance should be granted, and
12
     the answer “must be found in the circumstances present in every case.” Ungar v. Sarafite, 376
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     U.S. 575, 589 (1964). Under Rule 32(b)(2) of the Federal Rules of Criminal Procedure, “the
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     court may, for good cause, change any time limits” in regards to the time of sentencing.

16          Here, counsel requests a continuance due to a scheduling conflict. Counsel currently has

17   a Jury Trial scheduled to begin on October 5, 2010, and two State Court murder trials both
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     scheduled to begin on October 25, 2010.
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            Counsel has contacted AUSA Kathleen Bliss and confirmed that the government takes
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21
     no position in regards to continuing the sentencing date. Therefore, counsel respectfully

22   requests a continuance for a period of 60 days.
23          Furthermore, it has come to counsel’s attention that co-counsel is in the process of
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     investigating a basis for the submission of a Motion for a New Trial. Therefore, counsel also
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     requests a continuance to consider whether it is in Mr. Flores’s best interest to join in co-
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27
     counsel’s said Motion.

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 1          Finally, a 60-day continuance would allow counsel additional needed time to prepare for
 2   Mr. Flores’s sentencing.
 3

 4          DATED this 29th day of September, 2010.
 5

 6                                              /s/ James A. Oronoz
                                                ________________________
 7                                              JAMES A. ORONOZ, ESQ.
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 9
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10                                              Telephone: (702) 878-2889
                                                Facsimile: (702) 522-1542
11                                              Attorney for Defendant
12

13
                                          IT IS SO ORDERED this 30th day of September,
14                                        2010.
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16
                                          _______________________________________
17                                        UNITED STATES DISTRICT JUDGE
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 1                                  CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that I am not a party to the action herein, that I am a person
 3
     competent to serve papers and that on the 29th day of September 2010, I served a copy of the
 4
     foregoing: MOTION TO CONTINUE SENTECING DATE FOR A PERIOD OF 60 DAYS
 5
     via CM/ECF delivery, as authorized under the local rules of the United States District Court,
 6

 7   District of Nevada, upon the following persons:

 8   Kathleen Bliss AUSA
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 9   Attorney for the United States of America
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     Attorney for Deandre Patton
22
                                                           /s/ James A. Oronoz
23                                                         ________________________
24
                                                           JAMES A. ORONOZ, ESQ.

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